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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

TRENT'IAYLOR,                                       $
                                                    s
                                      Plaintiff.    $
                                                    $
                                                    $     CIVIL ACTION NO. 5:14-CV-00149-C
                                                    $
ROBERT RIOJAS, et al,                               $
                                                    $
                                   Defendants.      $


                                                 ORDER

        The Parties have notified the Court that they have settled this civil action. Accordingly,

this case is   ADMINISTRATMLY CLOSED                    without prejudice to its being reopened to enter

an order of dismissal or to enter other orders   ifthe settlement    is not consummated. Counsel in


this case are ORDERED to file appropriate dismissal papers on or before 90 days from the date

of this Order. The Court's trial setting of February 22, 2022, is hereby VACATED.

        SO ORDERED.


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                                                 SA            C     INGS
                                                         IOR           STATES       STRICT JUDGE
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